         Case 1:19-cv-12597-NMG Document 25 Filed 01/28/20 Page 1 of 2



                             UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS

                                                     CIVIL ACTION NO.: 1:19-cv-12597
DAVID J. HOWE,

               Plaintiff,

       vs.

U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE FOR THE RMAC TRUST SERIES
2016-CTT and
RUSHMORE LOAN MANAGEMENT
SERVICES LLC,

               Defendants.

               DEFENDANTS’ NOTICE OF NON-OPPOSITION TO ITS
             MOTION TO DISMISS PLAINTIFF’S VERIFIED COMPLAINT

       NOW COME the Defendants U.S. Bank National Association, as Trustee for the RMAC

Trust Series 2016-CTT (the “Trust”) and Rushmore Loan Management Services LLC

(“Rushmore”) (together, the “Defendants”) and, hereby notice the Court that the Plaintiff, David

J. Howe, has failed to oppose or otherwise respond to the Defendants’ Motion to Dismiss

Plaintiff’s Verified Complaint by the agreed upon January 27, 2020 deadline. Pursuant to Local

Rule 7.1(f), the Defendant requests that its Motion to Dismiss Plaintiff’s Complaint for Civil Case

be decided and allowed on the papers. However, if this Honorable Court is not inclined to take

such action, the Defendant would still request oral argument pursuant to Local Rule 7.1(d).

///

///

///

///



                                                1
         Case 1:19-cv-12597-NMG Document 25 Filed 01/28/20 Page 2 of 2



                                                    Respectfully submitted,
                                                    DEFENDANTS, U.S. BANK NATIONAL
                                                    ASSOCIATION, AS TRUSTEE FOR THE RMAC
                                                    TRUST SERIES 2016-CTT, AND
                                                    RUSHMORE LOAN MANAGEMENT SERVICES
                                                    LLC,
                                                    By their attorneys,



Dated: January 28, 2020                             /s/ Christopher J. Williamson
                                                    Ryan S. Moore (BBO #673069)
                                                    Christopher J. Williamson (BBO #690589)
                                                    HOUSER LLP
                                                    400 TradeCenter, Suite 5900
                                                    Woburn, MA 01801
                                                    Tel: (339) 203-6498
                                                    Fax: (212) 490-3332
                                                    rmoore@houser-law.com
                                                    cwilliamson@houser-law.com



                                 CERTIFICATE OF SERVICE

       I, Christopher J. Williamson, hereby certify that on January 28, 2020, a true and correct

copy of the Defendants’ Notice of Non-Opposition to its Motion to Dismiss Plaintiff’s Verified

Complaint was served via ECF and/or first-class mail, postage prepaid to:

       Josef Culik
       Kristin L. Thurbide
       Culik Law PC
       101 Federal St., Suite 1900
       Boston, MA 02110

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: January 28, 2020                      /s/ Christopher J. Williamson_____________
                                             Christopher J. Williamson, BBO No. 690589




                                                2
